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                                        ORIGINAL
   3n tlje Winitth States? Court of Jfeberal Claim*
                              OFFICE OF SPECIAL MASTERS
                                           No. 08-743V                                  r- . . r- p.
                                     Filed: January 12, 2016                            l~ I L t U
****************                                              UNPUBLISHED                JAN 11 2016
RICHARD WILLIAMS-O'BANION,                      *                                             0SM
                                                              Special Master Hamilton-^ftjSgffiOF,
                Petitioner,
                                                *             Former Attorneys' Fees and Costs;
                                                *             Reasonable Amount Requested to
                                                *             which Respondent Does Not Object.
SECRETARY OF HEALTH
AND HUMAN SERVICES,

                Respondent.                     *
****************


Richard Williams-O'Banion, Pro se.
Lara A. Englund, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION1

         On October 20, 2008, Richard Williams-O'Banion ("Petitioner") filed a petition pursuant
to theNational Vaccine Injury Compensation Program.2 Petitioner alleged that an influenza
("flu") vaccine administered on October 28, 2005, caused him to suffer from neurological
injuries. Petition, dated October 17, 2008, at 1.

        Petitioner was represented by counsel, Mr. Ronald C. Homer, when he initially filed his
petition. See generally Petition. Mr. Homer represented Petitioner for several months, before he
filed a Motion to Withdraw on July 31, 2009. Motion, dated July 31, 2009. The Motion was


1Because this decision contains a reasoned explanation for the undersigned's action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction "of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy." Vaccine Rule
18(b).

2The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter Vaccine Act or the Act). Hereafter, individual section
references will be to 42 U.S.C. § 300aa of the Act.
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granted on September 7, 2010. Order, dated September 7, 2010. Petitioner did not retain
another attorney and proceeded Pro se throughout the remaining duration of his case.

       On July 25, 2014, the undersigned issued a decision dismissing this case for insufficient
proofof causation. Decision, dated July 25, 2014. Judgment on the dismissal decision was
entered on August 29, 2014. Judgment, dated August 29, 2014. On January 5, 2015, Mr. Homer
filed a Motion for Leave to file an application for Attorneys' Fees and Costs ("Motion for
Leave"). Motion, dated January 5, 2015. The Motion for Leave was necessary because,
according to Mr. Homer, Petitioner refused to allow Mr. Homer to "become the attorney of
record" for the purpose of filing a motion for attorneys' fees and costs. Motion for Leave, at 3.
On January 26, 2015, Respondent filed her Response to Petitioner's Motion for Leave
("Respondent's Response"), arguing that Mr. Homer did not have standing to file his motion for
attorneys' fees and costs, and that there was no reasonable basis for filing the petition.
Respondent's Response, at 2-3. Finally, on February 18, 2015, Mr. Homer filed his Reply to
Respondent's Response ("Former Counsel's Reply"). On October 29, 2015, the undersigned
issued an Order, in which she determined that Petitioner's former counsel has standing to file for
attorneys' fees and costs, and she granted his Motion for Leave. Order, dated October 29, 2015.

        On November 23, 2015, in compliance with General Order #9, the undersigned granted
Petitioner "an opportunity to request reimbursement for any documented claim-related costs he
personally incurred during the period he was represented by Mr. Homer." Order, dated
November 23, 2015. The undersigned stated that "[a]ny requests for costs submitted after
[Wednesday, December 16, 2015] will not be considered for reimbursement." Id. To date, the
Court has received no correspondence from Petitioner and no requests for reimbursement.

        After the undersigned granted Petitioner's former counsel's Motion for Leave,
Respondent filed a Stipulation of Facts Concerning Attorneys' Fees and Costs, in which
Petitioner's former counsel and Respondent agree to the amount of fees and costs to be awarded
to Mr. Homer. Stipulation, dated November 19, 2015. Pursuant to their Stipulation, Petitioner's
former counsel and Respondent have agreed to an award of $12,000.00 in attorneys' fees and
costs. As noted above, Petitioner was given additional time to request reimbursement for out-of-
pocket litigation costs in pursuit of his claim; however, he did not submit a request for
reimbursement.


        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $12,000.00, in the
form of a check made payable jointly to Petitioner and Petitioner's former counsel, Ronald
C. Homer, at Conway Homer & Chin-Caplan, P.C, 16 Shawmut Street, Boston, MA 02116.

       The Clerk of Court is instructed to provide a copy of this Decision to Mr. Ronald
Homer, 16 Shawmut Street, Boston, MA 02116.
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         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties'
stipulation.3

        IT IS SO ORDERED.




                                              Lisa Hamilton-Fieldman
                                              Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties' joint filing of
notice renouncing the right to seek review.
